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             CATHOLIC DIOCESE OF SPOKANE
             Office of the Bishop
                                                                       August 20, 2021

  To Whom it may concern:

  I have known Nick Rolovich since the summer of 1987. As a newly ordained priest for the
  Archdiocese of San Francisco, I was assigned to Our Lady of Loretto parish in Novato, CA.
  At the same time, Nick's parents, Mike and Lori, and their three children moved from San
  Francisco to the northern most town in Marin County. Prior to his enrollment at Our Lady
  of Loretto, Nick was a student at Holy Name Catholic school in San Francisco.

  The Rolovich family was involved in the parish and regularly attended weekend Mass. In
  the summer prior to Nick going to the eighth grade, I was assigned to teach at Marin
  Catholic High School. A year later, Nick entered Marin Catholic. Nick's athletic skills in
  both football and baseball were often covered in the local press. However, less known was
  his work as a retreat leader in the Campus Ministry program.

  Nick left the area for college, but I would see him and several of his classmates from both
  Our Lady of Loretto and Marin Catholic whenever he returned to Marin. As with most
  young people raised in Catholic homes and educated in Catholic schools, young adulthood is
  a period of questioning, searching, and infrequent involvement in the practice of one's faith.
  I would say this defined Nick and most of his classmates during their twenties.

  Ten years ago, I was ordained a bishop and left Marin to serve in the Diocese of San Jose.
  When Nick and his wife began their family, Nick contacted me to baptize his children. The
  birth of children is often the time when a young person reconnects with the religion of their
  youth.

  For the last six years, I have been the Catholic Bishop of Spokane. Our diocese includes the
  town of Pullman and the Catholic Newman center of St. Thomas More. Once Nick was
  settled in his new coaching position and relocated his family to Pullman, he contacted me. I
  am also aware that Nick has introduced himself to Fr. Paul Heric, the Catholic chaplain to
  WSU. I see this as an expression of a renewed commitment to his relationship to God and
  the Church.

  Finally, I write this letter to shed light on one man's life of faith. I realize this is not easily
  explained nor often appreciated in the secular society and time in which we live. However, I
  believe Nick Rolovich is a man of faith who sincerely tries to live his life in a manner that
  seeks God's will. In time, I hope others will also see this important aspect of Nick's life.




  Most Reverend Thomas A. Daly
  Catholic Diocese of Spokane




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